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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA                                                                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                      SECTION “N-5"

                                                                         JUDGE ENGELHARDT

                                                                         MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Kenneth E. Dixon, et al v Keystone
Industries, Inc., et al., Case No. 2:10-cv-907
______________________________________________________________________________

 MEMORANDUM IN SUPPORT OF PLAINTIFFS’ UNOPPOSED SECOND MOTION
          TO EXTEND TIME TO PERFECT SERVICE ON DEFENDANTS
______________________________________________________________________________

       COME NOW PLAINTIFFS, through undersigned counsel, and respectfully request

additional time within which to perfect service on all Defendants. In support thereof, Plaintiffs

show the following:

       1.      The Complaint was originally filed in the Southern District of Mississippi on

December 23, 2009 (Case No. 1:09-cv-822).

       2.      Plaintiffs have been unable to serve the Defendants to date because Mirakel

Hosey and her household have been unable to identify their contractor and pursuant to Pretrial

Order 55, summons could not be issued. Plaintiffs have undertaken the following efforts to

identify their contractor: submitted their information to FEMA for matching (FEMA’s response

only identified their manufacturer); submitted a request for Plaintiffs’ IA File (said IA File

likewise failed to identify the contractor); and counsel for the Plaintiffs have re-submitted their

information to FEMA. Plaintiffs now intend to submit Ms. Hosey’s household to the Last


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Chance Matching Process. David Kurtz, liaison counsel for the Contractor Defendants, and

Henry Miller, counsel for the United States Department of Justice, have indicated that they do

not oppose Plaintiffs’ motion.

       3.      Plaintiffs assert that the foregoing creates good cause pursuant to FRCP Rule

4(m) for the court to extend the deadlines for service until August 2nd, 2010.

       WHEREFORE PREMISES CONSIDERED, the Plaintiffs respectfully move this Court to

extend the deadline until August 2nd, 2010 to insure that service is perfected on all parties.

       Respectfully submitted this the 21 day of June, 2010.

                                                       By:            s / Rose M. Hurder
                                                                      Rose M. Hurder

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first-class mail to all counsel of record who are non-CM/ECF

participants.



                                                                     s / Rose M. Hurder
                                                                     ROSE M. HURDER




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